                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:
                                                                        Case No. 11-43895
         DOUGLAS NADOLSKI,                                              Chapter 7
                                                                        Hon. Walter Shapero
            Debtor.
_________________________________/

JOSEPH CONSTANT,

                Plaintiff,

v.                                                                      Adv. Pro. No. 11-05635

DOUGLAS NADOLSKI,

                Defendant.

_________________________________/

                OPINION DENYING MOTION TO DISMISS BANKRUPTCY
                    CASE AND FOR OTHER RELIEF (Docket No. 38)

         Joseph Constant (“Plaintiff”), in pro per, a creditor of Douglas Nadolski (“Defendant”),

filed this adversary proceeding seeking a finding of non-dischargeability of a debt involving a failed

purchase of a mattress under 11 U.S.C. § 523(a)(2)(A) and (a)(4). At some point, the Court denied

Defendant’s Motion for Summary Judgment, but in the course of its Order doing so, also ruled that

in the event Plaintiff prevailed at trial, his damages, if any, would be capped at $650.00. On the trial

date, Defendant acceded to entry of a judgment of non-dischargeability in that amount. Plaintiff had

also filed in this adversary proceeding, a Motion to Dismiss the entire bankruptcy case, seeking also

fines and sanctions. That motion was based on various allegations essentially that Defendant had

left out or misrepresented facts in his bankruptcy schedules and pleadings and had otherwise thereby


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violated 18 U.S.C. §§ 152 and 3571 “at least,” and by reason thereof Plaintiff was entitled to have

the bankruptcy case dismissed and substantial damages assessed based on claimed violation of

various federal, state, and local laws, and regulations. Defendant responded to the Motion and the

Court conducted a hearing at which it indicated it was going to deny the Motion on various grounds

by way of a subsequent opinion.

        The current status of Defendant’s bankruptcy case, commenced February 16, 2011, is that

it is still open, and a discharge has not yet been issued. Another adversary proceeding brought by

another creditor (Case No. 11-05631), seeking, among other things, non-dischargability under

11 U.S.C. § 727, has recently been settled by an approved compromise. The compromise requires

payments to be made to that creditor and the Trustee under specified terms and conditions, and

waives discharge under § 727, but only as to any unpaid amounts due that particular creditor.

        The Court is denying the subject motion for the following reasons; any one of which

justifies that denial:

        1. It is procedurally infirm in that treating it, as one must, as a motion to dismiss under

11 U.S.C. § 707 (the only section which governs dismissal of a Chapter 7 case) it was brought within

the adversary proceeding, rather than the bankruptcy case, and the appropriate procedural, notice

and service requirements (i.e., serving the motion on the Trustee and his counsel as well as all

creditors etc.) were thus not met;

        2. The sections of 18 U.S.C. §§ 152 and 3571 specified as the bases for the Motion are

exclusively criminal statutes, the violation of which must be determined in accordance with criminal

cases properly brought; in some Court other than the bankruptcy Court which does not have

jurisdiction to do so. Only if, as and when the Defendant might be found guilty by some other Court


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under those criminal statutes, would the matter of any such convictions become relevant in the

bankruptcy court in some timely and relevant proceedings in the bankruptcy court, in which the fact

of any such convictions might be properly considered.

       3. The gravamen of the subject motion appears to be claims of material omissions or

misstatements in Defendant’s schedules or other filed documents which, if true, might be claimed

as a basis for a § 727 action, or, possibly as amounting to bad faith justifying dismissal under

§ 707(b).

       To the extent § 727 might conceivably be involved (and of course it was not specifically

invoked in the Motion itself), the deadline for filing a § 727 action in the bankruptcy case was

May 23, 2011. This adversary proceeding was commenced on May 18, 2011, but only sought relief

under § 523 and not under § 727. The instant motion, parts of which as indicated smack of § 727

type relief, was filed (in the adversary proceeding) December 27, 2011; to the extent a dismissal

under § 707 is involved (and based on the claims made in the Motion, it would only be § 707(b) that

might be invoked), Fed.R.Bank.P. 1017(d)(1) requires that such a dismissal motion be filed within

60 days after the date first set for the 341 meeting of creditors - that date in this case being

approximately May 23, 2011.

       Charitably speaking, giving Plaintiff the benefit of every reasonable doubt, the first pleading

that can be considered as coming close to being considered a § 707 dismissal pleading (and that is

questionable) was the instant motion filed December 27, 2011, some six months late for such a

motion.

       For the indicated reasons, Plaintiff’s Motion must be denied, and the Court is

contemporaneously entering an order to that effect.


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       It should be noted that this Opinion, in and of itself, does not dispose of, and should be seen

as disposing of, any causes of action Plaintiff may or may have had, under other than applicable

bankruptcy law, presentable in courts or forums other than the Bankruptcy Court, except to the

extent principles of res judicata or judicial estoppel might apply.
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Signed on January 27, 2012
                                                           /s/ Walter Shapero
                                                       Walter Shapero
                                                       United States Bankruptcy Judge




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